                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:11 cr 81


UNITED STATES OF AMERICA,                    )
                                             )
      Plaintiff                              )
                                             )
      V                                      )              ORDER
                                             )
RANDY CAROLEINY DELA-CRUZ,                   )
                                             )
      Defendant.                             )



      THIS MATTER is before the court on David Teddy’s Application for

Admission to Practice Pro Hac Vice of Patrick Jerome Brackley. It appearing that

Patrick Jerome Brackley is a member in good standing with the New York State Bar

and will be appearing with David Teddy, a member in good standing with the Bar of

this court, that all admission fees have been paid, and that the email address of the

attorney seeking admission has been provided, the court enters the following Order.

                                   ORDER

      IT IS, THEREFORE, ORDERED that David Teddy’s Application for

Admission to Practice Pro Hac Vice (#12) of Patrick Jerome Brackley is GRANTED,

and that Patrick Jerome Brackley is ADMITTED to practice, pro hac vice, before the

Bar of this court while associated with David Teddy.




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                                Signed: November 2, 2011




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